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                                                                                                                          .lr

AO 9l (Rcv. I l/l I ) Criminal Complaint


                                           UxTTED STATES DTSTRICT CO
                                                                  for the
                                                     Western District of Arkansas

                   United States of America
                                   v.

               DEREK SCOTT FINKBEIN ER,
                                                                            Case   No.     6:25-MI-06002-BAB
                  aka Scott Finkbeiner,
                 JORDAN HAMMOND, &


                             Defendant(s)


                                                   CRIMINAL COMPLAINT
           l, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                  May to December of 2024         irr the county of   Hot Spring and elsewhere          in the
      Western District of                       Arkansas         , the defendant(s) violated:

              Code Section                                                     Offense Description
- 18 U.S.C. 1512(b)(1)& (k)                       - Conspiracy to Tamper with a Witness (All Three Defendants)
- 18 U.S.C. 2 & 1512(bXl )                        - Tampering with a Witness, Aiding & Abetting (AIl Three Defendants)
- 1g u.s.c. 31 47(1)                              - Cornmission of a Federa! Felony Offense while on Pre-Trial Release
                                                  (Defendant Finkbeiner Only)




           This criminal complaint is based on these facts:


See attached Affidavit.




           d Cortinued on the attached sheet.
                                                                                        /s/ Brian Ambrose (telephonically)
                                                                                                C o mp I ai nunt's s i g,nature


                                                                                     BRIAN AMBROSE, Special Agent, FBI
                                                                                             Prl"*d     ,ltt"
                                                                                                           ""*, "*l
Sworn to before me and signed in my presellce.


Date:     l--6:-*f
                                                              , Arkansas       BARRY A. BRYANT, U.S. Magistrate Judge, WDAR
city and state:        Tar*ru*-*                                                                 Printed name and title
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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF ARKANSAS
                                  HOT SPRINGS DIVISION

   UNITED STATES OF AMERICA                                      )
                                                                 )       Case No. - 6:25-MJ-06002-BAB
                                                                                    ------
           v.                                                    )
                                                                 )       FILED UNDER SEAL
   DEREK SCOTT FINKBEINER                                        )
   aka Scott Finkbeiner,                                         )
   JORDAN HAMMOND, &                                             )
                                                                 )
                                                                 )

                                              AFFIDAVIT

           I, Brian Ambrose, a Special Agent (SA) with the Federal Bureau of Investigation (FBI),

   hereby depose and state that the following is true and correct upon my personal knowledge,

   investigation, and belief.

                            BACKGROUND & AFFIANT EXPERIENCE

           I.     I am a Special Agent of the Federal Bureau of Investigation, United States

   Department of Justice. I am an " Investigative or law enforcement officer .. . of the United States"

  within the meaning of Title 18, United States Code, Section 2510(7), and am empowered by law

  to conduct investigations of and make arrests for offenses enumerated in Title 18, United States

  Code, Section 2516.

          2.      I have been employed as a Special Agent of the FBI since March 2018.            I am

  currently assigned to the Little Rock Division ' s White Collar Crime Squad, with the responsibility

  of leading investigations involving public corruption of domestic public officials. I have also

  served as a member of the Special Weapons and Tactics (SW AT) team for approximately five

  years, and in connection with those responsibilities have participated in large-scale arrests of drug

  trafficking and violent offenders. In connection with my official duties, I am charged with



                                                    1
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   investigating violations offederal criminal laws. I have received training in narcotics enforcement,

   money laundering, violent crimes, and asset forfeiture.

          3.      During my time as a law enforcement officer, I have participated in numerous

   investigations ofunlawful narcotics distribution, public corruption, firearms violations, and violent

   crime, including gang activity and crimes against children. My experience encompasses both

   domestic and extraterritorial investigations including multi-agency, multi-government efforts

   focused on disrupting international criminal organizations conducting large scale narcotics

   trafficking, money laundering and other illicit activities. I have been involved in all aspects of

   federal criminal investigations, including, among other things, debriefing defendants, sources,

   witnesses and informants; conducting surveillance and undercover operations; executing search

   and seizure warrants; reviewing Call Detail Records, monitoring Title Ill wiretaps ; and analyzing

   documentary and physical evidence. I have been tasked with operating multiple Confidential

   Human Sources. Through my training, education, and experience, I have become familiar with the

  manner in which illegal drugs are transported, stored, distributed, and the methods of payments

  for such drugs. I am also familiar with the methods by which narcotics traffickers communicate

  and the code words commonly used by narcotics traffickers. I am also familiar with the manner

  and methods by which drug dealers launder their proceeds of illicit drug trafficking and

  distribution, as well as their use of firearms to protect themselves, their proceeds, and their drugs.

  The facts in this affidavit come from my personal observations, my training and experience, and

  information obtained from other agents and witnesses. Thi s affidavit is intended to show merely

  that there is sufficient probable cause for the requested warrant and does not set forth all of my

  knowledge about this matter.




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           4.         Based on my training and experience and the facts as set forth in this affidavit, there

   is probable cause to believe that violations of federal law, as listed below, have been committed

   by Derek Scott FINKBEINER, aka Scott Finkbeiner ("FINKBEINER"), Jordan HAMMOND

   (" HAMMOND"), and                                                                   The suspected violations

   are as follows :

                a. Title 18, United States Code, Sections 1512(b)(1) and I 5 I 2(k) (Conspiracy

                      Tampering with a Witness); and

                b. Title 18, United States Code, Section I 5 I 2(b )( 1) (Tampering with a Witness).

           5.         Further, based on my training and experience and the facts as set forth in this

  affidavit, there is probable cause to believe that FINKBEINER was subject to the provisions of

  Title 18, United States Code, Section 3147, during the course of the commission of the violations

  of Title 18, United States Code, Section 1512 outlined above.

                                                JURISDICTION

           6.         This Court has jurisdiction to issue the requested warrant because it is "a court of

  competent jurisdiction" as defined by Title 18, United States Code, Section 2711. Specifically,

  the Court is a District Court of the United States that has jurisdiction over the offense(s) being

  investigated as defined by Title 18, United States Code, Section 2711 (3)(A)(i).

                                             PROBABLE CAUSE

      I.        FINKBEINER PROCEDURAL HISTORY

           7.      On November 13 , 2024, a Grand Jury for the Western District of Arkansas returned

  a True Bill as and against FINKBEINER and a Second Superseding Indictment 1 was issued in the

  matter of United States ofAmerica v. Derek Scott Finkbeiner, aka Scott Finkbeiner, 6:23CR-60039-


           1
            The original Indictment (Doc. 16) was issued on or about November 15 , 2023 . The Superseding Indictment
  was issued on July 31 , 2024. (Doc . 67).

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  00 I (W.D. Ark November I 3, 2024) (Doc. 97)2 . The Second Superseding Indictment 3 alleges six

  (6) counts, as follows:

               a. Count One - Being an Unlawful User of a Controlled Substance in Possession of

                   Firearms, in violation of Title 18, United States Code, Sections 922(g)(3) and

                   924(a)(8):

              b. Count Two - Engaging in a Scheme to Conceal a Material Fact, in violation of Title

                   I 8, United States Code, Section I 001(a)(!);

               c. Count Three- False Statement, in violation of Title 18, United States Code, Section

                   I 001(a)(2);

              d. Count Four- False Statement, in violation of Title 18, United States Code, Section

                   1001(a)(2);

              e. Count Five - Misprision of Title 21, United States Code, Section 841(a)(l)

                   (Distribution of a Controlled Substance), in violation of Title 18, United States

                   Code, Section 4; and

               f. Count Six- Misprision of Title 21, United States Code, Sections 856(a)(I) and (b)

                   (Maintaining a Drug-Involved Premises), in violation of Title 18, United States

                   Code, Section 4.

  (7)    FINKBEINER was originally arrested pursuant to a Federal Complaint and placed

  on certain pre-trial release conditions. These conditions are outlined by the Court's Order Setting

  Conditions of Release (Doc. 13) and were incorporated into the subject case upon filing of the

  original Indictment (Doc. 16).


          2 All citations utilizing the format "Doc." reference back to the documents and pleadings filed in U.S. v.

  Finkbeiner, Case Number 6:23CR-60039-00 I, Western District of Arkansas.
          3
           The Second Superseding Indictment differs from the Superseding Indictment only in the order of the
  charged Counts and one (I) serial number of a firearm listed in Count One. (Doc. 97).

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            9.     On or about December 11 , 2023 , the Court entered an Order (Doc. 34) modifying

   the conditions of FINKBEfNER's pre-trial release, which, among other things, affirmed that the

   conditions imposed in the original Order Setting Conditions of Release (Doc. 13) were to remain

   in full force and effect. Specifically, the Court' s modification Order states as follows: "All other

   conditions of release not modified herein shall remain in full force and effect." (Doc. 34).

            l 0.   As part of the original pre-trial release conditions imposed by the Court,

   FINKBEINER was ordered to "avoid all contact, directly or indirectly, with any person who is or

  may be a victim or witness in the investigation or prosecution[.]" (Doc. 13, para. 7(g)) (emphasis

  added). The Court' s modification Order did not modify or otherwise set aside this no contact

  provision. (Doc. 34).

            11.    Additionally, the Order Setting Conditions of Release specifically advised

  FINKBEfNER that "[w]hile on release, if you commit a federal felony offense the punishment is

  an additional prison term of not more than ten years . ... " (Doc. 13). The Order goes on to state

  that "[t]his sentence will be consecutive (i.e., in addition to) any other sentence you receive." Id.

  FINKBEINER signed the Order, otherwise acknowledging that he was "aware of the penalties and

  sanctions set forth above." Id.

            12.    Based on information and belief, FINKBEINER was subject to and restricted by

  the conditions outlined in both the Court' s original Order Setting Conditions of Release (Doc. 13)

  and the Court ' s modification Order (Doc. 34) at the time of the commission of the alleged offenses

  herein.

            13.    On or about December 11 , 2023 , the Court entered its Protective Order Governing

  Discovery. (Doc. 35). The Protective Order Governing Discovery placed the following provisions




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   and restrictions, among others, in relation to the dissemination of any discovery materials provided

   to FINKBEINER by the government:

              a. Any and all discovery materials produced to the Defendant shall be reviewed only

                  by the (i) Defendant, (ii) counsel of record for the Defendant, (iii) employees of

                  such attorney(s), (iv) a photocopying or data processing service to whom it is

                  necessary that the Defendant show the materials for the purposes of preparation,

                  trial, direct appeal (if any), and collateral attack (if any) of this matter (Doc. 35,

                  para. l);

              b. The Defendant shall not retain the materials or their duplicates (Id., para. 2);

              c. The Defendant and their counsel shall use the discovery materials and their

                  contents solely for the preparation, trial, direct appeal (if any), and collateral

                  attack (if any) of this matter, and for no other purposes (Id. , para. 3);

              d. The substance ofany discovery materials provided to, or made available for review

                  by defense counsel, shall not be disclosed or related to any person other than (i)

                  the Defendant, (ii) counsel of record for the Defendant, (iii) -!mployees of such

                  attorney(s), (iv) a photocopying or data processing service to whom it is necessary

                  that the defense counsel show the materials for the purposes ofpreparation, trial,

                 direct appeal (if any), and collateral attack (if any) of this matter (Id. , para. 3); and

              e. The Defendant shall treat personal identifying information from discovery as

                  "constructively redacted " and shall not use or disseminate such information

                 without agreementfrom the Government or approval from the Court (Doc. 35, para.

                 6).




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                14.     Based on information and belief, FINKBEINER was subject to and restricted by

   the conditions outlined in the Court's Protective Order Governing Discovery (Doc. 35) at the time

   of the commission of the alleged offenses herein.


      II.             CONTENT OF JAIL CALLS AND PHONE CALL LOGS

            15 .        According to voluntary statements made by HAMMOND in a recorded interview

   with the FBI on September 16, 2024, HAMMOND met FINKBEINER while he was the Hot

   Spring County Sheriff, but prior to his arrest. HAMMOND began working construction with

   FINKBEINER in 2024, after his arrest. Multiple witnesses indicated to the FBI that HAMMOND

  and FINKBEINER are close friends. Analysis of tolls from their respective phones shows that the

  two (2) were in frequent contact with one another.

            16.                 was incarcerated at the Grant County Detention Center / Sheridan City Jail

  during a portion of the time covered by this Complaint Affidavit. As a result, his phone calls

  placed from the Sheridan City Jail were recorded.                A review of the recorded calls between

  HAMMOND and                      from March of 2024 to May of 2024 suggests that they were also close

  associates.

            17.         Quotations from the recorded jail calls cited in this affidavit, include statements

  made by                  , HAMMOND and the husband (WI ' s Husband) of a witness (Witness 1,

  hereafter WI 4) that reference FINKBEINER in multiple ways, including: " Finkbeiner," " Scott",

  "he," "Mr. Good Guy," and "our friend." As both                     and HAMMOND referenced that their

  conversations were being recorded on the jail calls, it is this affiant' s assessment that

  FINKBEINER was intentionally referenced using general pronouns or code names by both parties.




            4
             Witness I is a witness in the pending federal case against FINKBEINER. Based on information and
  belief, FINKBEINER would be and is aware of Witness I ' s true name and identity through the discovery process.

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          18.      Based on this affiant' s training and experience, individual s communicating on a

   recorded line, especially through jail calls, often intentionally use vague pronouns and code names

   to conceal the identity of a referenced party from anyone listening. Additionally, references to

   FINKBEINER cited in quotations are based on context established through review of the entire

   body of recorded phone calls captured between March 29- May 12, 2024 as well as the volume,

  time, and duration of calls between HAMMOND ' s Phone and FINKBEINER' s Phone reflected in

  Toll Records.

          19.      FINKBEINER relinquished much of his authority as the elected Hot Spring County

   Sheriff based on his acceptance of pre-trial release conditions following his arrest in November

  2023. It is this affiant's assessment that, even though FINKBEINER was the Sheriff in name at

  the time of writing, statements made by HAMMOND and                          on recorded jail calls

  referencing "when he's back in office," or " he ' s gotta get back," or " back into play" refer to him

  returning to his elected office without restriction to his authority.

          20.      In March 2024,           was detained in Sheridan City Jail/Grant County Detention

  center. From March 2024 through May 2024,                  and HAMMOND exchanged 146 recorded

  jail calls. During these calls, HAMMOND discussed FINKBEINER, conversations she has had

  with FINKBEINER, and references assurances and/or a perceived stream of benefits                could

  receive in exchange for compromising information on law enforcement officers, or names of

  women that would be willing to testify to help FINKBEINER on his case. Below are examples of

  conversations of this nature between HAMMOND and                   .

                a. MARCH 29, 2024

                      1.   Hammond: I talked to Finkbeiner, tell what it is that you know, that he

                           might not already know ... "



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                  11.          : About him like fucking, fucking bitches in drug court?

                 111. Hammond: Him ?

                 1v.           : Who, about, Finkbeiner or           ?

                  v. Hammond: Oh,                              ,                                   .

                 v1.           : So who do you need, so you 're talking about Finkbeiner?

                v11. Hammond: Yeah, but not something on him, something on somebody else

                        like               or one of the fucking ... It has to be a law official, it can 't

                        be, you know what I mean, just somebody. It has to be somebody in a

                        fucking, you know what I mean. Like                         , or                , or

                                          .. . it has to be a fucking law enforcement person. Somebody

                        like, how anybody 's that trying to get to him, you 'd have to have something

                        on him.

               v111.            : I got shit on all of them.

                 1x. Hammond: Do you? Well then, fucking, tell him something he doesn 't

                        know and he 'd be happy to do it.

                 x.            : / got the homegirl that that was like fucking like                    , and

                        fucking, fucking with           and all these motherfuckers and to that day she

                        still is, you know what I mean? And she 's willing to do like whatever the

                        fuck I tell her to do.

                x1. Hammond: I've got one already that 's doing that too ... Will she be willing

                        to .. . whatever? Like testify, would she be willing to testify?

                x11.           : Fuck yeah, she would be willing to testify.

           b. MARCH 30, 2024



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                          1.    Hammond: Hey, so I talked to him today, Finkbeiner, and he said uh, if

                                you know, I need to, he needs to know the names of the girls, cuz like I

                                already got          , you know what I mean, and you know                   and

                                       , but ifyou got anybody else he needs to know who they are and he 's

                                gonna do whatever.

           21.        On May 12, 2024, while incarcerated m Sheridan City Jail ,                      made a

   recorded call to HAMMOND, phone number                                  , at 10:59am . Early in the call,

   HAMMOND referenced FINKBEINER and said that he would testify for                                     after

   FINKBEINER is back in office in exchange for making contact with someone named "                    ."

                 a. Hammond: When I talked to Scott yesterday, he said um, he said, you know, you

                      know, if we can get          and all that other stuff to do that, you know what I mean,

                      when he's back in office, that he can come and testify for you at your trial.

          22.         In the same call,             notified HAMMOND that he was currently incarcerated

   with the husband of the girl "that got Scott, " WI , and indicated that she would be willing to testify

   that she was being forced to "do shit. " The call was then disconnected.

                 a.            : Listen, the girl that that got Scott?

                 b. Hammond: That got what?

                 c.            : The one that got Scott?

                 d. Hammond: What do you mean? No ne of them got him.

                 e.            : In like, in supposedly in a motel room or something like that a long time

                      ago?

                 f.   Hammond: Oh yeah, yeah, yeah, allegedly, yeah.

                 g.            : Her husband is in here.



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                h. Hammond: Really?

                1.         : Yes, and he says that his old lady will fucking testify that            and all

                     them motherfuckers are forcing her to do shit.

          23.        On the same day immediately following the previous call,                 made another

   call at 11 :02 a.m. from the Sheridan City Jail to HAMMOND and continued to describe his

   interactions with WI ' s husband regarding WI. During the call , HAMMOND told                           ,

   "Scott 's calling me right now " and ended the conversation shortly thereafter.

                a.         : Anyway, I talked to dude, and uh, he just started telling me some things, he

                     said yeah, my wife is the one that uh was in Perla and all that shit, told me

                     everything.

                b. Hammond: Hey, yeah, Scott 's calling me right now.

                c.         : Alright; well call and tell him I'm in here with dude ... and I can get, and

                     she 's got our back [f necessary and she 'll testify against        and them.

          24.        Toll records analysis of HAMMOND ' s cellphone records, phone number

                (Hammond ' s Phone) and F[NKBEINER' s cellphone records,

   (Finkbeiner' s Phone), show that the Finkbeiner' s Phone called Hammond ' s Phone two times while

   she was on the 11 :02 a.m. call with               , who was detained in the Sheridan City Jail , which

   was consistent with statements made on that recorded call.

          25.        Immediately after ending the recorded jail call with             , HAMMOND ' s toll

   records indicate that Hammond ' s Phone immediately called Finkbeiner' s Phone, and the call lasted

   approximately 3 minutes and 45 seconds.

          26.        At approximately 11: IO a.m. ,          again called HAMMOND on a recorded call.

   At the beginning of the call , HAMMOND asked                  for WI 's first and last name.         can



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   be heard in the call asking WI ' s husband for WI 's name.                    then provides WI 's first and

   last name to HAMMOND as directed.

          27.        Later in the call,           asked HAMMOND, "What did Scott say?." To which,

   HAMMOND responded with                  "That 's fucking awesome" and further described what

   FINKBEINER told her he would do for                    . HAMMOND stated, "ifyou 're on his side, he 's

   on your side, he'll vouch for you, he'll do whatever he's got for you."

                a.          : What did Scott say?

                b. Hammond: He said that 's fucking awesome, you know what I mean?

                c.          : Tell him, uh, tell him he 's welcome.

                d. Hammond: Yeah, yeah, no, like he fucking, he already told me, he was like, he

                     said, he 'll testify for you in court, if he has to, whatever he has to do, like he 's, he'll

                     fucking, you know what I mean, he said but he's gotta get back, you know what I

                     mean?

                e. Hammond: You know what I mean, he 's on your side, just like, if you 're on his

                     side, he's on your side, he 'll vouch for you, he 'll do whatever he's got for you.

          28.        The below chart illustrates the above outlined telephone calls between                      ,

   originating from the Sheridan City Jail, and Hammond ' s Phone, followed by the calls from

   Finkbeiner's Phone to Hammond's Phone, Hammond ' s Phone returning FINKBEINER's call,

   followed by               return call to Hammond ' s Phone.




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                                        Originating
    Central Time       Duration                              Terminating Number          Source -Tolls
                                         Number
   5/12/24 11:00         2:05        Sheridan City Jail       Hammond's Phone
   5/12/24 11:02         0:45        Sheridan City Jail       Hammond's Phone
   5/12/24 11:03         0:00       Finkbeiner's Phone        Hammond's Phon e
   5/12/24 11:03         0:03       Finkbeiner's Phone        Hammond's Phone
   5/12/24 11:03         3:44       Hammond's Phone           Finkbeiner's Phone
   5/12/24 11:10         2:21        Sheridan City Jail       Hammond's Phone




           29.      On May 14, 2024,             called HAMMOND on a recorded jail call. In that call,

   HAMMOND instructed                   to provide WI ' s phone number and further discusses logistics

   with           and WI ' s husband regarding how to obfuscate the reason for WI making a statement

   to FfNKBEfNER' s attorneys, in exchange for HAMMOND posting bond for Wl ' s husband.

                 a. Hammond: Okay, listen, I need that girl's phone number, and listen, I also need

                    the next time, I need them to uh, you know like, I need to know that the reason that

                    she wants him ... as soon as we get her number, and she talks to the lawyers, he is

                    out. Like, I'm gonna come, I'm gonna bond him out, and you know what I mean,

                    but I need her to reassure the lawyers that it's over safety reasons. The reason she

                    wants it, like this is not a deal to get him out, this is that she wants him out because

                    of safety factors. You know what I mean, she is scared for her safety, and that's why

                    she wants him ... and I need her to convince the lawyers of that, okay?... Okay, but

                    I need her phone number and the lawyers are going to contact her.

          30.       During the call,           gives the phone to WI ' s husband. HAMMOND again

   requests WI 's number from WI 's husband and, referring to FINKB EIN ER' s attorneys, says, "I

   think they got the address " then that she needs WI "to reassure them, and I need you to be very

   careful what you say because they will go back and listen to what y 'all talk about on here. " WI 's



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   husband tells HAMMOND that he did not think WI would speak on the phone. HAMMOND

   responded as outlined below.

                 a. Hammond: Okay, well that 's fine, !just need her to reassure the lawyers that the

                    reason she wants you out is for safety purposes.. . If you give me her number, I'll

                    call her first.

           31.      In the same call, HAMMOND goes on to specifically reiterate to Wl 's husband

   that as soon as WI provides a statement to FINKBEINER's attorneys, in which WI tells them she

   was coerced and wants WI ' s husband out for safety reasons, HAMMOND would facilitate paying

   his bond.

          32.       WI 's husband provided WI 's phone number directly to HAMMOND, and

   HAMMOND tells him "If I can talk to her and she does everything I said, I'll have you out

   tomorrow. " During the conversation, WI 's husband again expresses concern that WI may not

   talk on the phone. HAMMOND indicates that if she needs to meet her in person, she will , and

   further states as outlined below.

                 a. Hammond: this is very crucial if what she says is true then, or even vice versa,

                    even if she 's ... but I need her to write a statement to the lawyers, not to anybody

                    else other than the lawyers, and then this is over and I've got your back, I've got

                            back.. .I've got... you know what I mean, everybody is going to be ... it 's going

                    to be a lot better.

          33.       On same recorded call, WI 's husband again tells HAMMOND that he did not think

   WI would make any statements or listen to anyone but him. HAMMOND responds by telling W 1's

   husband, "Then you need to tell her on the fucking phone that she needs to listen to me, or fucking




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   she's fucked. And so are you." HAMMOND then, again, reiterates that she will facilitate Wl 's

   husband 's release in exchange for WI 's written statement to FINKBEfNER's attorneys.

                 a. Wl 's Husband: The whole thing is though, is that she's not gonna listen to no,

                     she's not gonna listen to nobody else but me on this right here, because she's already

                     worried.

                 b. Hammond: Then you need to tell her on the fucking phone that she needs to listen

                     to me, or fucking she's fucked. And so are you. You won i get out, I can get you out

                     tomorrow, if she will just listen to me.

                 c. Wl 's Husband: ff you could get me out before then, then it would be better.

                 d. Hammond: I can i. I literally can i do it until... here's the deal, I can i do it until

                    she fucking writes a statement to the lawyers. I can i. I don i have that much money,

                     but I will bond. .. I will find for you ... but until she writes a statement to them, I can i

                    do it.

           34.       W 1's husband passes the phone to                where HAMMOND then states :

                 a. Hammond: Tell him, '1 'm sorry ', I don i know what to say. ff she won i do .. . if she

                    won 't at least write a statement; she can recant on it, it doesn i matter because what

                    that does is discredit her credibility.

           35.      HAMMOND then goes on to say to                    , that she now has WI 's phone number

   and will call or meet her in person soon to try to convince her to write a statement in exchange for

   WI 's husband 's release.      On the call,             suggests that HAMMOND reassure WI of her

   safety, and HAMMOND responds that "Oh yeah, she's totally safe, because that's tampering with

   a federa l witness. "




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                 b.          : Yeah, you need to let her know that she :S gonna be safe and everything, you

                      know what to say.

                 c. Hammond: Oh yeah, she's totally safe, because that :S tampering with a federal

                      witness, and no, she's totally safe. But I will talk to her and if this all goes well, then

                      I will have him out tomorrow.

           36.        On the same call , HAMMOND reiterates to                  that after "this all goes well"

   she will have W l 's husband out the next day, the prosecution will be "devastated " and as soon as

   FINKBEINER is "back into play," FlNKBEINER said, "he will testify in any aspect " for                        .

                 a.         : You need to let her know that she :S going to be safe.

                 b. Hammond: I will talk to her and if this all goes well, then I will have him out

                      tomorrow.

                 c.         : OK, well let her know, if she can help us then hes coming home and you 're

                      going to get him tomorrow.

                 d. Hammond: And not only that, that you will be ... you know what I mean, they might

                      sit on itfor a couple weeks because they 're devastated but as soon ashes back into

                      play, our friend or whatever, then he said he would testify in any aspect for you, on

                      your behalf.

           37.                 goes on to reassure HAMMOND that he knows FINKBEINER will look

   out for him .           then asks HAMMOND for commissary funds , HAMMOND tells                            she

   doesn 't have the money, to which                replies for her to "tell Mr. Good Guy" to add money to

   his account for food. HAMMOND then indicates that Wl 's Husband's bond will be increasing,

   and that is "not just gonna be written off, thats gonna be paid by my old friend. "




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                 a. Hammond: When he gets back into whatever, you know what I mean, then he :S got

                      way more, you know, whatever.

                 b.              : Yeah I know, I know he 'fl look out for me.

                 c.              : Can you put some money on my commissary for me? ... How much can you

                      do?

                d. Hammond: Not much because I'm broke as fuck, and I gotfiredyesterday.

                e.               : Well, tell Mr. Good Guy that he can, fucking, up some food for me.

                f.    Hammond: Well, here :S the thing, they 're gonna be upping that dude :S bond.

                g.               : Oh yeah yeah okay.

                h. Hammond: Yeah, so keep in mind. .. that :S not just gonna be written off, that :S

                      gonna be paid by my old friend.

          38.         It is this affiant's belief that the following statements made by HAMMOND on the

   referenced May 14, 2024, jail call clearly convey HAMMOND 's intent to influence WI into

   producing a conflicting written statement for FINKBEINER 's attorneys, regardless of the veracity

   of that statement, in order to negatively affect the credibility of WI as a witness in a federal

   proceeding.

                a. Hammond to Wl 's Husband:

                            1.   I need you to be very careful what you say because they will go back and

                                 listen to what y 'all talk about on here.

                         11.     You need to tell her on the fucking phone that she needs to listen to me, or

                                 fucking she :S fucked.

                        111.     this is very crucial if what she says is true then, or even vice versa, even if

                                 shes ...



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                b. Hammond to                 :

                     1v.   as soon as we get her number, and she talks to the lawyers, he is out.

                     v. she can recant on it, it doesn 1 matter because what that does is discredit

                           her credibility.

          39.     Following the recorded jail call on May 14, 2024, toll records analysis show

   Finkbeiner' s Phone and Hammond ' s Phone exchanged three phone calls at 4:05 p.m. , 4:16 p.m.

   and 8:43 p.m., lasting approximately 5 minutes 53 seconds, 27 seconds, and 5 minutes and 12

   seconds, respectively. Less than one minute after completing the 8:43 p.m. phone call with

   Finkbeiner's Phone, Hammond ' s Phone immediately called WI ' s phone . WI reported,

   corroborated by toll analysis, that after the phone call from Hammond ' s Phone was unsuccessful,

   Hammond ' s Phone immediately texted the following statement to WI (highlighted in yellow

   below): "Hey your husband wanted me to get in touch with you give me a call. "

          40.     Within the same minute that Hammond 's Phone sent that text message to W 1,

   Hammond 's Phone called Finkbeiner 's Phone for IO minutes and 43 seconds, then Finkbeiner 's

   Phone called Hammond 's Phone for another 4 minutes and 23 seconds. During the I 0-minute

   phone call, WI attempted to return the missed call from Hammond 's Phone.

          41.     It is this affiant's belief, given the recorded statements made by HAMMOND, WI 's

   reporting, and the timing, duration and volume of calls between Hammond 's Phone and

   Finkbeiner 's Phone immediately surrounding HAMMOND's contact with WI , that FINKBEINER

   was aware of HAMMON D's attempts to influence WI on his behalf.




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         Central                                                  Terminating
                        Duration      Originating Number                               Source -Tolls
          Time                                                      Number
         5/14/24
                          11:56           Sheridan City Jail   Hammond's Phon e
          14:38
         5/14/24
                           5:53          Finkbeiner's Phone    Hammond's Phone
          16:05
         5/14/24
                           0:27          Hammon d's Phone      Finkbeiner's Phone
          16:16
         5/14/24
                           5:12          Finkbeiner's Phone    Hammond's Phone
          20:43
         5/14/24
                           0:09          Hammond's Phone          Wl's Phone
          20:49
         5/14/24           SMS           Hammond's Phone          Wl's Phone
          20:50
         5/14/24
                          10:43          Hammond's Phone       Finkbeiner's Phone
          20:50
         5/14/24
                           0:01             Wl's Phone         Hammond's Phone
          20:56
         5/14/24
                           0:01             W l 's Phone       Hammond's Phone
          20:56
         5/14/24
                           0:00          Finkbeiner's Phone    Hammond's Phone
          21:01
         5/14/24
                           4:23          Finkbeiner's Phone    Hammond's Phone
          21:01




         42.       In a jail call from            to HAMMOND on May 15, 2024 , HAMMOND told

          to provide W l's address since WI did not answer the phone.                      provided WI 's

   address to HAMMOND as directed. HAMMOND again reiterated on the call that once WI does

   what HAMMOND asks, she will faci litate paying the bond for WI 's husband . HAMMOND says

   that FINKBEINER wi ll put up the money and HAMMOND wil l put her name on it.

               a. HAMMOND: Our friend is going to put up the money, I'm going to put my name

                   on it, so tell him [WI 's Husband] not to fuck around cuz I 'd hate to have to kill him.


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           43.     Less than one minute after ending the May 15 , 2024, jail call with             ,

   Hammond's Phone made a phone call to Finkbeiner 's Phone lasting approximately 12 minutes and

   32 seconds .

           44.     In a jail call from          to Hammond 's Phone on May 17, 2024,          left a

   voicemail message identifying himself and providing the contact phone number for a family

   member of WI.              indicated in the voicemail that the phone number would be another way

   to reach WI by phone.

           45.     Later in the day on May 17, 2024, Finkbeiner 's Phone made a call to Hammond 's

   Phone lasting approximately 7 minutes and 24 seconds. Immediately after ending that call with

   Finkbeiner 's Phone, Hammond 's Phone attempted an unsuccessful call to W l , then called the

   number for a family member of WI , provided by                  , which was also unsuccessful.

   Immediately following the two unsuccessful calls, Hammond's Phone called Finkbeiner 's Phone.

   The family member of WI returned the missed call from Hammond's Phone, in which

   HAMMOND identified herself and provided contact information for W l 's family member to give

   to W l , indicating it was regarding a legal matter.




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         Central
                   Duration      Originating Number     Terminating Number    .Source-Tolls
          Time
         5/17/24
                     0:33         Sheridan City Jail     Hammond's Phone
          13:04
         5/17/24
                     0:05         Sheridan City Jail     Hammond's Phone
          13:06
         5/17/24
                     7:24        Finkbeiner's Phone      Hammond's Phone
          15:02
         5/17/24
                    0:08         Hammond's Phone            Wl's Phone
          15:11
         5/17/24
                    0:46         Hammond's Phone         Wl's Family Phone
          15:12
         5/17/24
                    0:05         Hammond's Phone         Finkbeiner's Phone
          15:14
         5/17/24
                    0:00          Sheridan City Ja il    Hammond's Phone
          15:19
         5/17/24
                    0:05          Sheridan City Ja il    Hammond's Phone
          15:19
         5/17/24
                    0:46         Wl's Family Phone       Hammond's Phone
          15:20
         5/17/24
                    1:26         Finkbeiner's Phone      Hammond's Phone
          15:43
         5/17/24
                    8:47          Sheridan City Jail     Hammond's Ph one
          16:08
         5/17/24
                    2:58         Finkbeiner's Phone      Hammond's Phone
          16:2 1
         5/17/24
                    0:15         Finkbeiner's Phone      Hammond's Phone
          16:49
         5/17/24
                    1:00         Finkbeiner's Phone      Hammond's Phone
          16:50
         5/17/24
                    3:11          Sheridan City Jail     Hammond's Phone
          18:15




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          46.     Through two consensually recorded phone calls from WI to HAMMOND placed

   on May 22 , 2024, WI inquired what HAMMOND 's previous calls were regarding. HAMMOND

   indicated she wanted to meet in person to discuss further, but eventually told WI that it was

   regarding FfNKBEJNER. The two agreed to meet on May 23 , 2024, at 3:00 p.m.

          47.     Between the initial May 22, 2024, consensually monitored call from WI to

   HAMMOND ending at 3:20 p.m. and the second call from WI to HAMMOND which began at

   3:22 p.m, toll records show that Hammond's Phone made a call to Finkbeiner's Phone lasting I

   minute and 46 seconds.

          48.    After HAMMOND arranged a meeting in person with WI for May 23, 2024,

   Hammond 's Phone immediately made another call to Finkbeiner 's Phone lasting 18 minutes, then

   exchanged another call later in the day lasting approximately 16 minutes and 36 seconds.


      Central
                   Duration     Originating Number     Terminating Number     Source-Tolls
       Time
      5/22/24
                     2:02           Wl's Phone          Hammond's Phone
       15:18
      5/22/24
                     1:46       Hammond's Phone         Finkbeiner's Phone
       15:20
      5/22/24
                     6:16           Wl's Phone          Hammond's Phone
       15:22
      5/22/24
                     18:00      Hammond's Phone         Finkbeiner's Phone
       15:29
      5/22/24
                     16:36      Finkbeiner's Phone      Hammond's Phone
       16:45
      5/22/24
                     0:36       Finkbeiner's Phone      Hammond's Phone
       19:46




          49.    On May 23, 2024, HAMMOND did not show up to the scheduled in person meeting

   at 3pm. WI texted and conducted multiple consensually recorded calls between 3pm and

   approximately 6:30 p.m., to determine why HAMMOND had not shown up as agreed.

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   HAMMOND indicated she was working late and described her vehicle as

              . After approximately three hours of waiting, WI cancelled the in-person meeting.

   HAMMOND attempted to reschedule, but WI refused. Toll records for Hammond ' s Phone show

   that immediately after the final call where WI cancelled the meeting, Hammond ' s Phone made a

   call to Finkbeiner' s Phone lasting approximately 12 minutes and 25 seconds.


       Ill         ADDITIONAL WITNESS TESTIMONY

             50.     A government witness (Witness 2, W2) with direct access to both HAMMOND and

   FINKBEINER since FINKBEINER' s arrest in November 2023 provided the following

   information over multiple voluntary and recorded interviews with local law enforcement and FBI.

             51.     W2 indicated that on multiple occasions throughout 2024, and as recently as

   December o/2024, that FINKBEINER approached W2 and asked if W2 knew of any women that

   intended to testify against him at his upcoming trial or would "try to go against him on his case. "

   W2 provided some names to FINKBEINER, and FINKBEINER requested that W2 find the

   women and ''persuade them not to."

             52.     W2 said that the reason he/she never reached out to the women was because W2

   knew that following through on FINKBEINER' s request could be a crime and "it seemed a little

   fucking shady. "

             53.     W2 indicated that, following FINKBEINER ' s arrest, HAMMOND found a female

   witness at FINKBEINER ' s request. The witness that HAMMOND told W2 about was a big

   witness in FINKBEINER' s case, according to HAMMOND . HAMMOND told W2 that

   FINKBENER wanted HAMMOND to talk to the witness and try to convince her not to testify

   because "she was very significant to the case " and that would be a "home run for him."




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            54.      HAMMOND told W2 about her attempt to influence the female witness. W2 stated

   as outlined below during an interview.

                  a. W2: "I know that she [HAMMOND] has told me that, you know, that she went and

                     found somebody that was testifying against him, and she went to try to talk her out

                     of it and try to make her say that it was a lie. That what she was saying wasn 't true.

                     And I know that she 's gone and done that for him [FINKBEINER]. "

            55.      W2 told this affiant that HAMMOND intended to persuade the female witness not

   to testify, to get her to say she was lying, or get her to say that she made it up because she was

   scared. HAMMOND told W2 that the witness intended to testify against FfNKBEfNER about

   so mething related to drugs or sex for drugs .

            56.      Based on conversations between W2 and HAMMOND, W2 opined that

   HAMMOND did not reach out to the witness on her own, but that "FINKBEINER asked her to do

   it. " W2 indicated that the meeting with the female witness did not quite go the way HAMMOND

   wanted, because the witness decided not to change her story.

            57.      Additionally, and as outlined above, W2 has stated that FINKBEfNER has

   repeatedly requested W2 to identify and influence potential witnesses on his behalf, as recently as

   December of 2024.

      IV.         ONGOING ATTEMPTS TO INTIMIDATE A FEDERAL WITNESS

            58.      On O1/2 I /2025 , FfNKBEfNER appeared in Arkansas state court for a hearing

   regarding Arkansas state charges filed against him on or around April 2024. After the hearing

   concluded, FfNKBEINER walked out of the courtroom with

             . While outside the courtroom, FINKBEfNER and                        had an interaction with

   Witness 3 (W3).



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               59.        On or after 01/21/2025 , a video of the apparent court surveillance footage, with no

   audio, was posted on multiple Facebook pages. The video showed the interaction between

   FINKBEINER,                       , and W3 and had a written description of what occurred. The video was

   posted along with the following caption:

                     a.   "We believe that public figures should be held accountable for their behavior. The

                          following video displays how                                                        ,

                          [WITNESS 3], treats fellow                         and                              .

                          While the security cameras did not have audio capability, [WITNESS 3 's] non-

                          verbal communication speaks volumes. When we allow this behavior from our

                          leaders, we diminish the progress ofHot Spring County in becoming a place people

                          want to live and raise their families. This is the opposite of a level-headed, calm,

                          and strong leader. This is unacceptable, and as long as there are people who care

                          about this county getting better, things like this will not be swept under the rug to

                          pacify adults who act like children".

               60.        The video stated that W3 arrived five minutes before the end of the hearing and

   referred to W3 as a "Self-proclaimed FBI Informant. " The video later stated that W3 harassed

   FINKBEINER and                       , who the video referred to as "federal witnesses. "The video ended

   with the statement, "The Feds and their informants will Stop at Nothing to keep our Sheriff out of

   office ".

           61.            In a comment on the video, a Facebook account with the name "                      "

   posted the following, "[WITNESS 3J told                                         that he was going to record

   conversations with Sheriff Finkbeiner in exchange for a proffer with immunity for the FBI".




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          62.         On the                                               page, the Facebook account with

   the name                        described        perspective of what occurred in the video in a comment,

   which stated:

                 a. [WITNESS 3J mouthed something at us [FINKBEINER and                         ] as he was

                      walking out and I said, 'Hi               '. That seemed to set him off Following that

                      I told him that he needed to move out of my space and I put my hand up to maintain

                      space. Then in an effort to deescalate the situation, I told him we were leaving. He

                      continued to come back and try to get a reaction out of us. After the attorneys came

                      out, [FINKBEINER] told his attorney that he thinks they need to get a restraining

                      order against [WITNESS 3]. [WITNESS 3J continued to yell things that didn i quite

                      make much sense. I do believe [FINKBEINER 'SJ attorneys are reporting this to the

                      US Attorneys office as [FINKBEINER] and I are both federal witnesses in his case.

          63.         The Facebook account with the name                              also posted another

   comment, which stated:

                 a.   We don i have to put any words in his mouth. [WITNESS 3J said enough when he

                      told                            that he was going to record conversations with Sheriff

                      Finkbeiner in exchange for a proffer with immunity with the FBI. He also let it slip

                      to me once that his FBI codename is                       . After that I knew exactly

                      what to FOIA request from the FBI.

          64.         The administrators for the Facebook page where these comments were posted

   were FINKBEINER,                                                  .

          65 .        W3 was previously a Confidential Human Source (CHS) with the FBI. The FBI

   uses unique CHS names to protect personally identifiable information on internal documentation,



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   in preambles on consensual recordings, and occasionally in court proceeding when the CHS is not

   expected to testify. CHSs are often made aware of these unique identifiers. W3 was made aware

   of his/her CHS name, which was not "                            ," but W3 misunderstood that name to be

   "              ."

            66.        During the course of an investigation, W3 made a consensual recording on a device

   which was provided to the FBI without W3 's ability to review or alter the file. The recording 5 was

   then turned over to FINKBEINER's defense team pursuant to rules of discovery and prior to the

   courthouse interactions or the referenced Facebook posts. In the recording, W3 stated in a pre-

   amble, what W3 understood to be his/her CHS name followed by the time and date, "

                                            ."

            67.        The words "                   " referred to the time in which the recording was being

   made and were not associated with W3's alleged CHS name or W3 's relationship with the FBI in

   any way. Additionally, W3 told the FBI that W3 never understood "                          or any numbers to be

   associated with his/her CHS name, and never disclosed the name "                                 " to              or

   anyone else.

            68.        "            " was not the CHS name of W3 , and thus would not appear anywhere

   in FBI systems associated with W3. Additionally, W3 was unable to review the content of the

   preamble recorded and did not understand when                             referenced "            in his Facebook

   post.                   knowledge of and reference to the specific combination of "                            " and

   "       ," could have only come from his knowledge of the content of a recording provided pursuant

   to rules of discovery and protected under a court order.




             5 The Affiant does not have access to the recording and was not involved in W3 's limited actions as a CHS.

   However, the Affiant has confirmed with the assigned FBI Special Agents regarding only the ~tated initial contents
   of the recording.

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              69.                   addressing W3 as "                      " demonstrated that           knew W3

   had a relationship with the FBI.                        referring to "                 " on social media showed

   an intent to name W3 as an FBI witness or informant in the public forum and also showed that

                    knew a detail about W3 's relationship with the FBI that only could have come from

   exposure to discovery materials covered under a protective order.

           70.          It is this affiant's belief that                use of and release of sensitive information

   regarding W3 were meant to intimidate W3 and negatively impact                          credibility as a witness.

   Additionally,                    and FINKBEIN ER both understand the potential impact of leaking

   sensitive information like a CHS name directly linked to W3 or sharing that information in a public

   forum. Both                   and FINKBEINER have had similar relationships with the FBI in the past,

   which included CHS names and clear admonishments regarding the sensitive nature of that type

   of information. This activity, which constituted willful violation of the protective order entered in

   FINKBEINER's pending federal prosecution, occurred on or after                                        , with the

   information still available on social media. This indicates that FINKBEINER and others on his

   behalf are, at the time of writing, actively and currently attempting to intimidate a potential federal

   witness.


      V.            CONCLUSION

           71.         Toll Records analysis of both Finkbeiner 's Phone and Hammond 's Phone show the

   devices exchanged over 857 phone calls in the period of time between February 2024 and August

   2024. Since the recorded May 12, 2024 jail call where                           first told HAMMOND about an

   opportunity to influence the testimony of WI , the call volume between Finkbeiner 's Phone and

   Hammond 's Phone significantly increased. The number of calls exchanged in February was 44




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   calls, March (82 calls), April (36 calls), then in May, the call volume increased to 184 calls, June

   (212 calls), July (209 calls) and August (90 calls).

           72.    Additionally, many of the calls exchanged between Finkbeiner 's Phone and

   Hammond 's Phone coincide to within one minute of a recorded jail call with           , or a recorded

   conversation with WI , where HAMMOND received information or attempted to direct action to

   facilitate influencing the testimony or credibility of WI.

           73.    It is this affiant's belief based on multiple witness statements, the significant

   increase in call volume during the period, numerous explicit references on recorded calls by

   HAMMOND to FINKBEINER's knowledge and involvement in the attempts to influence WI ,

   and the timing of many of the calls, that FINKBEINER,               , and HAMMOND all actively

   participated in a conspiracy and knowingly attempted to tamper with a witness in a federal judicial

   proceeding.

           74.    W2, a witness with direct access to both HAMMOND and FINKBEINER, said that

   FINKBEINER requested W2 to identify and influence potential witnesses on his behalf, as

   recently as December of 2024. Additionally, statements made in person and on social media (on a

   page administered by FINKBEINER), by a                               of FINKBEINER, leveraged

   information uniquely contained in discovery materials and covered under an order of protection,

   likely intended to intimidate or affect the credibility of a potential Federal witness in January of

   2025.

           75 .   It is this affiant's belief that, at the time of this writing, FINKBEINER is actively

   and currently participating in and directing attempts to identify and intimidate potential witnesses

   that may testify against him in his upcoming federal proceeding. Further, it is this affiant's belief

   that HAMMOND and                have conspired with and directly participated with FINKBEINER



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   in his efforts to identify and intimidate potential witnesses that may testify against him in his

   upcoming federal proceeding.

          76.      Based upon the foregoing facts , there is probable cause to believe that:

                a. Beginning on an unknown date, but at least as early as May of 2024 and continuing

                   through December of 2024, in the Western District of Arkansas, Hot Springs

                   Division, and elsewhere, the Defendants, Derek Scott FINKBEINER, aka Scott

                   Finkbeiner, Jordan HAMMOND, and                         ,                   , and others

                   known and unknown, did knowingly and intentionally combine, conspire,

                   confederate and agree with each other, and with others known and unknown, to

                   attempt to intimidate, threaten, and corruptly persuade federal witnesses with the

                   intent to influence, delay, and prevent the testimony of witnesses in the federal

                   prosecution proceedings now pending as and against the Defendant, Derek Scott

                   FINKBEINER, aka Scott Finkbeiner, all in violation of Title 18, United States

                   Code, Sections I 512(b)(I) and l 512(k);

                b. Beginning on an unknown date, but at least as early as on or about May 12, 2024,

                   through on or about May 23 , 2024, in the Western District of Arkansas, Hot Springs

                   Division, and elsewhere, the Defendants, Derek Scott FINKBEINER, aka Scott

                   Finkbeiner, Jordan HAMMOND, and                                          , aiding and

                   abetting each other, did knowingly and intentionally attempt to intimidate, threaten,

                   and corruptly persuade a federal witness with the intent to influence, delay, and

                   prevent the testimony of the federal witness in the federal prosecution proceedings

                   now pending as and against the Defendant, Derek Scott FINKBEINER, aka Scott




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                   Finkbeiner, all in violation of Title 18, United States Code, Section 1512(b)(1) and

                   Title 18, United States Code, Section 2;

                c. That the Defendant, Derek Scott FINKBEINER, aka Scott Finkbeiner, was on

                   release pursuant to an order dated November 3, 2023, from the United States

                   District Court of the Western District of Arkansas, Case Number 6:23CR-60039-

                   00 I, which order notified the Defendant, Derek Scott FINKBEINER, aka Scott

                   Finkbeiner, of the potential effect of committing an offense while on pretrial

                   release; and

                d. That, beginning on an unknown date, but at least as early as May of 2024 and

                   continuing through December of 2024, the Defendant, Derek Scott FINKBEINER,

                   aka Scott Finkbeiner, committed the offense of conspiring to tamper with a federal

                   witness in violation of Title 18, United States Code, Sections 1512(b)(1) and

                   1512(k), and Title 18, United States Code, Section 3147(1).

          77.      Therefore, I respectfully submit this Affidavit in support of a Criminal Complaint

   and pray that warrants be issued forthwith for the arrests of Derek Scott FINKBEINER, aka Scott

   Finkbeiner, Jordan HAMMOND, and




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                                                       Respectfully submitted,


                                                       Isl Brian Ambrose (telephonically)   ~~
                                                       BRIAN AMBROSE                        -----
                                                       Special Agent
                                                       Federal Bureau of Investigation


          Sworn to before me on this   6 _,\,'--day of February, 2025.

                                                       H O N ~ANT
                     ,-.-                              United States Magistrate Judge
   City and State:    { ~½., "-- , Arkansas            Western District of Arkansas




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